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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF GEORGIA
                               VALDOSTA DIVISION

  UNITED STATES OF AMERICA                           CRIM. NO. 7:21-CR-14

                 v.

  YAO LIN,



                                     CHANGE OF PLEA

       I, YAO LIN having been advised of my Constitutional rights, and having had the charges

herein stated to me, and pursuant to a written plea agreement, the terms of which are subject to

acceptance or rejection by the Court at such time as the Comi has considered a presentence rep01i,

do hereby plead GUILTY to Count One of the Indictment, this                       2
.~"f-L-', 2022.
       I also acknowledge the fact that the Court is required to consider any applicable sentencing

guidelines when imposing sentence in this case.




                                           ~ - - -
                                              YAOLIN
                                              DEFENDANT


                                              CASON C. SWAN
                                              ATTORNEY FOR DEFENDANT

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                                              OOBERT D. MCCULLERS
                                              ASSISTANT UNITED STATES ATTORNEY
